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                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

UNITED STATES                                 )
                                              )
                                              )
                  v.                          )      No. 1:21-cr-143-ELR-CCB
                                              )
                                              )
VICTOR HILL,                                  )
                                              )
           Defendant.                         )


               NOTICE OF CHANGE OF FIRM AFFILIATION


      Notice is hereby given that the undersigned will change firm affiliations

effective August 4, 2022. The undersigned was previously associated with the firm

Miller & Martin PLLC and has formed her own firm, Barron Law LLC. New

contact information for the undersigned is:

                              BARRON LAW LLC
                              3104 Briarcliff Road
                                 P.O. Box 29964
                                Atlanta, GA 30359
                                 (404) 276-3261
                               lynsey@barron.law
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This 2nd day of August, 2022             Respectfully submitted,

                                    By:/s/     Lynsey M. Barron
                                               Lynsey M. Barron
                                               Ga. Bar No. 661005
                                         BARRON LAW LLC
                                         3104 Briarcliff Road
                                         P.O. Box 29964
                                         Atlanta, Georgia 30359
                                         Telephone (404) 276-3261
                                         lynsey@barron.law

                                         Attorney for Victor Hill




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                          CERTIFICATE OF SERVICE

      I hereby certify that on the below date I served the foregoing Notice of

Change of Firm Affiliation with the Clerk of Court using CM/ECF system, which

will automatically send email notification of such filing to the to all attorneys of

record.




      This 2nd day of August, 2022

                                         /s/ Lynsey M. Barron
                                         By: Lynsey M. Barron

                                             Attorney for Victor Hill




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